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PROB 12C-SUM

(05/21)
                             UNITED STATES DISTRICT COURT
                                                        for
                                      Western District of Washington
                      Petition for Warrant or Summons for Person Under Supervision
                                           Reinsch Marshall 12C_WAR
Name:                Marshall Reinsch                                     Case Number: 2:18CR00244RAJ-001
Name of Judicial Officer: The Honorable Richard A. Jones, United States District Judge
Date of Original Sentence: 12/06/2019                                               Date of Report: 09/21/2023
Original Offense:      Possession of Controlled Substance with Intent to Distribute
Original Sentence:     54 months’ confinement; 5 years’ supervised release
Type of Supervision: Supervised Release                             Date Supervision Commenced: 01/09/2023
                                                                         Date Supervision Expires: 01/08/2028
Assistant United States Attorney: Andrew Freidman                            Defense Attorney: Jeffrey L Kradel
Special Conditions Imposed:
☒ Substance Abuse             ☒ Financial Disclosure                   ☐ Restitution:
☒ Mental Health               ☐ Fine                                   ☐ Community Service
☒ Other: Moral Reconation Therapy; submit to search
                                          PETITIONING THE COURT
☐         To issue a warrant under seal
☒         To issue a summons

I allege Marshall Reinsch has violated conditions of supervision by:

  Violation
  Number Nature of Noncompliance
   1.       Consuming methamphetamine on or about the following dates, in violation of a mandatory condition
            of supervised release.
                • August 16, 2023
                • August 22, 2023

     2.        Consuming fentanyl on or about August 22, 2023, in violation of a mandatory condition of
               supervised release.

     3.        Consuming methamphetamine on or about September 15, 2023, in violation of a mandatory condition
               of supervised release.

     4.        Consuming alcohol on or about September 15, 2023, in violation of a mandatory condition of
               supervised release.

I incorporate by reference the information contained in the attached memorandum.

United States Probation Officer Recommendation:
☒ The term of supervision should be
  ☒ revoked.
  ☐ extended for       years, for a total term of      years.
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The Honorable Richard A. Jones, United States District Judge                                              Page 2
Petition for Warrant or Summons for Person Under Supervision                                   September 21, 2023
☐ The conditions of supervision should be modified as follows:

☐ Detention pending final adjudication due to
  ☐ risk of flight.
  ☐ danger to community.


I swear under penalty of perjury that the              APPROVED:
foregoing is true and correct.                         Monique D. Neal
                                                       Chief United States Probation and Pretrial Services Officer
Executed on this 21st day of September, 2023.          BY:
A                                                      A
Natalia Malec                                          Analiese D. Johnson
United States Probation Officer Assistant              Supervising United States Probation Officer

                       THE COURT FINDS PROBABLE CAUSE AND ORDERS:
☐ The Issuance of a Warrant under seal
  (conditions of supervision shall remain in effect pending final adjudication)
☐ The Issuance of a Summons
  (conditions of supervision shall remain in effect pending final adjudication)
☐ Other




                                                                           Signature of Judicial Officer
                                                                                September 21, 2023
                                                                                      Date
